

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-47,144-23






EX PARTE GARLAND FLEMING, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 98-5379-L IN THE 106TH DISTRICT COURT


FROM DAWSON COUNTY






	Per curiam.



O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of assault and
sentenced to 10 years' imprisonment.

	In his present application, Applicant alleges that he has improperly been denied mandatory
supervision release.  This application, however, presents a more serious question.  This Court's
records reflect that Applicant has filed seven prior applications challenging this conviction.  It is
obvious from the record that Applicant continues to raise issues that have been presented and
rejected in previous applications or that should have been presented in previous applications.  The
writ of habeas corpus is not to be lightly or easily abused.  Sanders v. U.S., 373 U.S. 1 (1963); Ex
parte Carr, 511 S.W.2d 523 (Tex. Crim. App. 1977).  Because of his repetitive claims, we hold that
Applicant's claims are barred from review under Article 11.07, § 4, and are waived and abandoned
by his abuse of the writ.  This application is dismissed.

	Therefore, we instruct the Honorable Louise Pearson, Clerk of the Court of Criminal
Appeals, not to accept or file the instant application for a writ of habeas corpus, or any future
application attacking this conviction unless Applicant is able to show in such an application that any
claims presented have not been raised previously and that they could not have been presented in a
previous application for a writ of habeas corpus.  Ex parte Bilton, 602 S.W.2d 534 (Tex. Crim. App.
1980).


Filed: September 16, 2009

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